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                       IN THE UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF TEXAS
                              BROWNSVILLE DIVISION

UNITED STATES OF AMERICA                             §
                                                     §
                                                     §
V.                                                   §      CASE NO. 1:22-CR-00267
                                                     §
VICTOR GUILLERMO LIRA-AVALOS                         §
                                                     §

                               MOTION TO LIST WITNESSES

TO THE HONORABLE JUDGE OF SAID COURT:

       COMES NOW, VICTOR GUILLERMO LIRA-AVALOS, Defendant in the above-

entitled and numbered cause by and through his attorney of record and files this his Motion to

List Witnesses and for cause would respectfully show as follows:

                                                I.

       The names of the witnesses that the United States Attorney will call in its case in chief

are in the exclusive possession of said prosecuting attorney. The Defendant is entitled to the

disclosure of such witnesses by the Government prior to the voir dire examination of the jury

panel, because without which he will be unable to select a fair jury and provide effective

assistance to his counsel, guaranteed to him under the laws and Constitution of the United States.

       WHEREFORE, PREMISES CONSIDERED, Defendant prays that this motion be in all

things granted.

                                                     Respectfully submitted,
                                                     LAW OFFICE OF EDDIE LUCIO


                                                     /s/ Eddie Lucio_______________
                                                     Eddie Lucio
                                                     LAW OFFICE OF EDDIE LUCIO
                                                     Federal ID No. 22009
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                            CERTIFICATE OF CONFERENCE

       I, the undersigned, hereby certify that on April 22, 2022 I have conferred with the

Assistant U.S. Attorney, David A. Lindenmuth, about this Motion to List Witnesses.


                                                    /s/ Eddie Lucio
                                                    Eddie Lucio


                                CERTIFICATE OF SERVICE

       I hereby certify that on this the 25th day of April, 2022, a true and correct copy of the

foregoing Motion to List Witnesses, was electronically filed with the Clerk of Court using the

CM/ECF system which will send notification of such filing to all parties.



                                                    /s/ Eddie Lucio
                                                    Eddie Lucio
